   Case 1:19-cv-06318-GBD-OTW            Document 12       Filed 09/05/19       Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHEL ERIC BENNOUCHENE,

          Plaintiff,
                                                  Civil Action No. 19 CV 6318
                            v.
                                                  ECF CASE
VIDEOAPP, INC.,

          Defendant.



                                 NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that the undersigned hereby appears in the above-

captioned action on behalf of defendant Videoapp, Inc., and respectfully requests that all

pleadings, notices, orders, correspondence and other papers in this action be served upon

the undersigned attorney, who is duly admitted to practice before this Court.


Dated:          New York, NY
                September 5, 2019
                                                MULLEN P.C.


                                        By:     _______________________________
                                                Wesley M. Mullen (WM1212)
                                                200 Park Avenue, Suite 1700
                                                New York, NY 10166
                                                (646) 632-3718
                                                wmullen@mullenpc.com

                                                Counsel for Defendant
